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              SCHEDULE A
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                                       SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, which appropriated the funds that shall be used for the taking.
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              SCHEDULE B
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                                      SCHEDULE B

                                    PUBLIC PURPOSE



       The public purpose for which said property is taken is to conduct surveying, testing,

and other investigatory work needed to plan the proposed construction of roads, fencing,

vehicle barriers, security lighting, cameras, sensors, and related structures designed to help

secure the United States/Mexico border within the State of Texas.
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              SCHEDULE C
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                                     SCHEDULE C

                                 LEGAL DESCRIPTION

                                  STARR County, Texas

Tract: RGV-RGC-1013
Owner: Servando Luera
Acres: 191.30

A tract of land containing 197.20 acre gross and a net acreage of 191.30 acres more or
less including all surface and subsurface minerals, out of and forming a part or portion of
Tract No. 10 out of Porcion No. 58, Mier, 2nd Shares Nos. 1, 3, 4, 5, 6, 8, 9, 11, 12, 13
and 14 out of Porcion No. 59 Ancient Jurisdiction of Mier, now Starr County, Texas as
Trimble Map and being more particularly described by metes and bounds as follows:

BEGINNING at a set iron pin on or about the dividing fence line between Shares Nos. 14
and 7-B, of Porcion 59, Mier 2nd being on the South R.O.W. line of a 20.0 feet Road
Easement, S. 77* 12’ 14” E., 5260.66 feet, from the North corner of Tract No. 8 of said
Porcion No. 58, Mier, for the East corner hereof;

THENCE, following meandering fence line as follows:
       S. 55* 38’ 21” W., 629.89 feet;
       S. 55* 30’ 27” W., 997.65 feet;
       S. 55* 42’ 46” W., 608.23 feet;
       N. 34* 28’ 28” W., 99.13 feet;
       S. 55* 40’ 14” W., 476.76 feet;
       S. 55* 37’ 29” W., 1554.29 feet to a set iron pin on the North High Bank of the
Rio Grande River, for the South corner hereof;

THENCE, following the North Bank of the Rio Grande River, N. 71* 47’ 22” W.,
2051.30 feet to a set iron pin, for the West corner hereof;

THENCE, following a meandering fence line to the Northeast as follows:
       N. 55* 58’ 15” E., 1273.61 feet;
       N. 34* 02’ 01” W., 70.95 feet;
       N. 53* 31’ 00” E., 369.03 feet;
       S. 44* 58’ 07” E., 139.59 feet;
       N. 55* 28’ 24” E., 1814.26 feet;
       N. 18* 54’ 57” E., 808.79 feet;
       S. 60* 03’ 14” E.,    52.01 feet;
       N. 71* 45’ 17” E., 405.54 feet;
       S. 34* 20’ 11” E.,    35.72 feet;
       N. 55* 32’ 07” E., 971.43 feet on or about the dividing fence line between
Porciones Nos. 58 and 59 to a set iron pin for the North corner hereof;
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                                 SCHEDULE C, cont’d


THENCE, S. 34* 20’ 25” E., 1961.98 feet along the dividing line between Parcel 6 and
this Parcel to the PLACE OF BEGINNING and containing within these metes and
bounds 197.20 gross acres of land more or less.

SAVE AND EXCEPT:

PART I

A tract of land containing 5.05 acres more or less out of and forming a part or portion of
Share No. 1 of Porcion No. 59, Ancient Jurisdiction of Mier, Mexico now Starr County,
Texas and more particularly described by metes and bounds, as follows:

BEGINNING at a set iron pin on the East Line of 20.0 foot road in Share No. 1 for the
North corner hereof; which point and corner are distance, S. 29* 03’ 41” E., 2448.78 feet,
from the North corner of Tract No. 8 of said Porcion No. 58, Mier Jurisdiction.

THENCE, following the East R.O.W. Easement of a 20.0 foot road, S. 34* 17’ 43” E.,
400.0 feet to a set 5/8” iron pin, for the East corner hereof;

THENCE, S. 55* 42’ 17” W., 550.0 feet to a set 5/8” iron pin, for the South corner
hereof;

THENCE, N. 34* 17’ 43” W., 400.0 feet to a set 5/8” iron pin, for the West corner
hereof;

THENCE, N. 55* 42’ 17” E., 550.0 feet to the PLACE OF BEGINNING and containing
within these metes and bounds 5.05 acres of land more or less.

PART II

A tract of land containing 0.85 of an acre more or less out of and forming a part or
portion of Share Nos. 1, 3 and 5 of Porcion No. 59, Ancient Jurisdiction of Mier, Mexico
now Starr County, Texas and more particularly described by metes and bounds as
follows:

BEGINNING at a found 5/8” iron pin at corner of fence in Share No. 5 of Porcion No.
59, Mier Jurisdiction, for the North corner hereof, which pin and corner are distant, S.
32* 26’ 45” E., 2549.78 feet from a found 5/8” iron pin being the recognized North
corner of Tract No. 8 of Porcion No. 58, Mier Jurisdiction, as per Trimble Map.

THENCE, following fence, S. 54* 26’ 20” E., 235.97 feet to a found 5/8” iron pin at
corner of fence, for the East corner hereof;
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                               SCHEDULE C, cont’d


THENCE, following fence, S. 48* 33’ 39” W., 203.94 feet to a found 5/8” iron pin on the
East R.O.W. Easement of Road, for the South corner hereof;

THENCE, with said East R.O.W. Easement of Road, N. 34* 17’ 43” W., 225.00 feet to a
set 5/8” iron pin at corner of fence, for the West corner hereof;

THENCE, following fence, N. 45* 26’ 57” E., 123.05 feet to the PLACE OF
BEGINNING and containing within these metes and bounds 0.85 of an acre of land more
or less.

FOR A NET CONVEYANCE OF 191.30 ACRES MORE OR LESS.
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              SCHEDULE D
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                                      SCHEDULE D

                                       MAP or PLAT




                              LAND TO BE CONDEMNED

Tract: RGV-RGC-1013
Owner: Servando Luera
Acreage: 191.30

* The case caption identifies acreage for the entire parent tract; access to the entire parent
tract may be necessary to complete a survey of the proposed tract outlined in red on the
map above.
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               SCHEDULE E
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                                       SCHEDULE E

                                      ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-1013
Owner: Servando Luera
Acres: 191.30

        The estate taken is a temporary, assignable easement beginning on the date
possession is granted to the United States and ending 12 months later, consisting of the
right of the United States, its agents, contractors, and assigns to enter in, on, over and across
the land described in Schedule C to survey, make borings, and conduct other investigatory
work for the purposes described in Schedule B and to access adjacent lands; including the
right to trim or remove any vegetative or structural obstacles that interfere with said work;
reserving to the landowners, their successors and assigns all right, title, and privileges as
may be used and enjoyed without interfering with or abridging the rights hereby acquired;
subject to minerals and rights appurtenant thereto, and to existing easements for public
roads and highways, public utilities, railroads and pipelines.
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               SCHEDULE F
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                                     SCHEDULE F

                       ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is ONE HUNDRED

DOLLARS AND NO/100 ($100.00), to be deposited herewith in the Registry of the Court

for the use and benefit of the persons entitled thereto; and, an additional sum determined

at the conclusion of the temporary estate described in Schedule E to constitute actual

damages, if any.
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               SCHEDULE G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                             Reference
 Servando Luera                               Deed of Gift, Document #189307,
                                              Volume 0771, Page 781, Filed for Record
 Falcon Heights, Texas                        January 22, 1997, Official Records of
                                              Starr County
